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                        UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF CONNECTICUT
                                  BRIDGEPORT DIVISION
_______________________________________________
In re                                              : Chapter 11
                                                   :
        Ho Wan Kwok,                               : Case No. 22-50073
                                                   :
                              1
                      Debtor.                      :
                                                   :
________________________________________________:
                                                   :
Pacific Alliance Asia Opportunity Fund L.P.,       :
                                                   :
                      Movant                       :
                                                   :
v.                                                 :
                                                   :
Ho Wan Kwok,                                       :
                                                   :
                      Respondent.                  :
________________________________________________:

                  REQUEST OF OFFICIAL COMMITTEE OF
           UNSECURED CREDITORS TO CONDISER ADDITIONAL ITEM
           FOR STATUS CONFERENCE PURSUANT TO 11 U.S.C. § 105(d)

       The Official Committee of Unsecured Creditors (the “Committee”) of the above-named

Debtor and Debtor in Possession, Ho Wan Kwok (“Debtor”), hereby requests that at the status

conference scheduled for May 17, 2022 at 3 p.m., the Court consider granting a 30-day extension

of time for creditors to file complaints to determine the nondischargeability of debts under 11

U.S.C. §§ 523(a)(2), (a)(4) or (a)(6) from the current deadline of May 20, 2022, through and

including June 20, 2022, without prejudice to the Committee or any creditor seeking a further

extension of time for cause shown.




1
 The Debtor is known by the following names: Guo Wengui; Miles Guo; Miles Kwok; and Ho Wan
Kwok.
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       Based on discussions with counsel for the Debtor, as shown by the exchange of emails

attached hereto as Exhibit “A,” counsel for the Committee was under the impression that the

Debtor would stipulate to such an extension, and accordingly prepared a Joint Stipulation (which

incorporated comments from counsel for Pacific Alliance Asia Opportunity Fund L.P.,

hereinafter “PAX”), attached hereto as Exhibit “B” (the “Proposed Stipulation”), and circulated

it to Debtor’s counsel (with marked comments from PAX). Debtor’s counsel, however, has not

yet indicated whether they will sign off on the Proposed Stipulation, while the May 20, 2022 §

523 deadline is looming.

       WHEREFORE, the Committee respectfully requests that the Court consider this

additional item at the status conference.

Dated: Bridgeport, Connecticut
       May 17, 2022
                                            OFFICIAL COMMITTEE OF UNSECURED
                                            CREDITORS OF HO WAN KWOK



                                            By:     /s/Irve J. Goldman
                                                    Irve J. Goldman
                                                    Jonathan A. Kaplan
                                                    Pullman & Comley, LLC
                                                    850 Main Street, 8th Floor
                                                    PO Box 7006
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                                                    Its Attorneys




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                                CERTIFICATION OF SERVICE

        I, Irve J. Goldman, herby certify that on the 17th day of May, 2022, a true and correct
copy of the foregoing Request of Official Committee of Unsecured Creditors to Consider
Additional Item for Status Conference Pursuant to 11 U.S.C. § 105(d) was filed with the Court
and served all parties that have filed a notice of appearance and request for notice electronically
via the Court’s CM/ECF electronic filing system (“CM/ECF”).



                                              By:     /s/Irve J. Goldman




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